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                                                      October 26, 2020


Honorable Gregory H. Woods                                    MEMORANDUM ENDORSED
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007


       Re:     United States v. Maurice Barnes
               S4 15 Cr. 454 (GHW)

Dear Judge Woods:

       I represent Mr. Barnes pro bono in connection with a pending motion filed pursuant to 28
U.S.C. §2255, resulting in the Court ordering a hearing presently scheduled at the Courthouse
for November 17, 2020, in connection with Mr. Barnes’ potential re-sentencing. (See ECF
Document No. 150 filed 6/30/20). At the time the Court scheduled this hearing, it directed that a
revised pre-sentence report be prepared and disclosed to the parties no later than September 30,
2020, and it scheduled dates for the parties sentencing submissions after September 30, 2020.

        The parties have not yet received the revised pre-sentence report. With the Government’s
consent, I respectfully seek a thirty day adjournment of the hearing, an Order directing the
expedited preparation and disclosure of the revised pre-sentence report, and a revised schedule
for the filing of the parties sentencing submissions. There have been no prior requests for
adjournments in connection with this §2255 motion.

       I thank the Court for its consideration of this request.

                                                      Respectfully submitted,

Application granted. The re-sentencing hearing scheduled on November 17, 2020 is adjourned to
January 20, 2021 at 10:00 a.m. The defendant's submissions with respect to the re-sentencing are due no
later than January 6, 2021; the Government's submissions are due no later than January 13, 2021. The
Clerk of Court is directed to terminate the motion pending at Dkt. No. 151.

SO ORDERED.
                                       _____________________________________
Dated: November 6, 2020
                                              GREGORY H. WOODS
New York, New York
                                             United States District Judge
